        Case 4:09-cr-00043-SPF Document 54-3 Filed in USDC ND/OK on 05/15/09 Page 1 of 2

       1040 U.S. Individual Income Tax Return 2003
                        Department of the Treasury—Internal Revenue Service
Form
                                                                                                                           (99)     IRS Use Only—Do not write or staple in this space.
                            For the year Jan. 1–Dec. 31, 2003, or other tax year beginning                  , 2003, ending                    , 20               OMB No. 1545-0074
Label                       Your first name and initial                              Last name                                                               Your social security number
(See                L
                    A
instructions        B       If a joint return, spouse’s first name and initial       Last name                                                               Spouse’s social security number
on page 19.)        E
                    L
Use the IRS
label.              H
                            Home address (number and street). If you have a P.O. box, see page 19.                                   Apt. no.
                                                                                                                                                             䊱 Important! 䊱
Otherwise,          E
please print        R                                                                                                                                                 You must enter
                    E       City, town or post office, state, and ZIP code. If you have a foreign address, see page 19.
or type.                                                                                                                                                              your SSN(s) above.
Presidential
                        䊳
                                                                                                                                                                  You                 Spouse
Election Campaign                Note. Checking “Yes” will not change your tax or reduce your refund.
(See page 19.)                   Do you, or your spouse if filing a joint return, want $3 to go to this fund?                                         䊳           Yes         No        Yes     No
                         1         Single                                                                        4         Head of household (with qualifying person). (See page 20.) If
Filing Status            2         Married filing jointly (even if only one had income)                                    the qualifying person is a child but not your dependent, enter
Check only               3         Married filing separately. Enter spouse’s SSN above                                     this child’s name here. 䊳
one box.                           and full name here. 䊳                                                         5         Qualifying widow(er) with dependent child. (See page 20.)


                                                                                                                                                                      其
                         6a           Yourself. If your parent (or someone else) can claim you as a dependent on his or her tax                                           No. of boxes
                                                                                                                                                                          checked on
Exemptions                                      return, do not check box 6a                                                                                               6a and 6b
                             b    Spouse                                                                                                                                  No. of children
                             c Dependents:                                                                                 (3) Dependent’s      (4) if qualifying         on 6c who:
                                                                                                (2) Dependent’s
                                                                                             social security number
                                                                                                                            relationship to     child for child tax       ● lived with you
                                 (1) First name             Last name                                                             you          credit (see page 21)       ● did not live with
                                                                                                                                                                          you due to divorce
If more than five                                                                                                                                                         or separation
dependents,                                                                                                                                                               (see page 21)
see page 21.                                                                                                                                                              Dependents on 6c
                                                                                                                                                                          not entered above
                                                                                                                                                                          Add numbers
                                                                                                                                                                          on lines
                             d Total number of exemptions claimed                                                                                                         above 䊳

                         7  Wages, salaries, tips, etc. Attach Form(s) W-2                                                                                       7
Income                   8a Taxable interest. Attach Schedule B if required                                                                                     8a
Attach                    b Tax-exempt interest. Do not include on line 8a                                            8b
Forms W-2 and            9a Ordinary dividends. Attach Schedule B if required                                                                                   9a
W-2G here.                                                                                                            9b
                             b Qualified dividends (see page 23)
Also attach
Form(s) 1099-R          10       Taxable refunds, credits, or offsets of state and local income taxes (see page 23)                                             10
if tax was              11       Alimony received                                                                                                               11
withheld.                                                                                                                                                       12
                        12     Business income or (loss). Attach Schedule C or C-EZ
                        13a    Capital gain or (loss). Attach Schedule D if required. If not required, check here 䊳                                            13a
                             b If box on 13a is checked, enter post-May 5 capital gain distributions 13b
If you did not          14       Other gains or (losses). Attach Form 4797                                                                                      14
get a W-2,              15a      IRA distributions           15a                                               b Taxable amount (see page 25)                  15b
see page 22.
                        16a      Pensions and annuities             16a                                        b Taxable amount (see page 25)                  16b
Enclose, but do         17       Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E                                    17
not attach, any         18       Farm income or (loss). Attach Schedule F                                                                                       18
payment. Also,                                                                                                                                                  19
please use              19       Unemployment compensation
Form 1040-V.            20a      Social security benefits 20a                                                  b Taxable amount (see page 27)                  20b
                        21       Other income. List type and amount (see page 27)                                                                               21
                        22       Add the amounts in the far right column for lines 7 through 21. This is your total income 䊳                                    22
                        23       Educator expenses (see page 29)                                                      23
Adjusted                24       IRA deduction (see page 29)                                                          24
Gross                   25       Student loan interest deduction (see page 31)                                        25
Income                  26       Tuition and fees deduction (see page 32)                                             26
                        27       Moving expenses. Attach Form 3903                                                    27
                        28       One-half of self-employment tax. Attach Schedule SE                                  28
                        29       Self-employed health insurance deduction (see page 33)                               29
                        30       Self-employed SEP, SIMPLE, and qualified plans                                       30
                        31       Penalty on early withdrawal of savings                                               31
                        32a      Alimony paid b Recipient’s SSN 䊳                              32a
                        33       Add lines 23 through 32a                                                                                                       33
                        34       Subtract line 33 from line 22. This is your adjusted gross income                                                     䊳        34
For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see page 77.                                                       Cat. No. 11320B                            Form 1040 (2003)
       Case 4:09-cr-00043-SPF Document 54-3 Filed in USDC ND/OK on 05/15/09 Page 2 of 2
Form 1040 (2003)                                                                                                                                                           Page 2

                     35      Amount from line 34 (adjusted gross income)                                                                        35
Tax and
Credits
Standard
                     36a     Check
                             if:     兵      You were born before January 2, 1939,
                                            Spouse was born before January 2, 1939,
                                                                                                      Blind.
                                                                                                      Blind.   其   Total boxes
                                                                                                                   checked 䊳 36a
Deduction                 b If you are married filing separately and your spouse itemizes deductions, or
for—                        you were a dual-status alien, see page 34 and check here                                          䊳   36b
● People who         37      Itemized deductions (from Schedule A) or your standard deduction (see left margin)                                 37
checked any                                                                                                                                     38
box on line          38      Subtract line 37 from line 35
36a or 36b or        39      If line 35 is $104,625 or less, multiply $3,050 by the total number of exemptions claimed on
who can be
claimed as a                 line 6d. If line 35 is over $104,625, see the worksheet on page 35                                                 39
dependent,           40      Taxable income. Subtract line 39 from line 38. If line 39 is more than line 38, enter -0-                          40
see page 34.
                     41      Tax (see page 36). Check if any tax is from: a        Form(s) 8814           b        Form 4972                    41
● All others:
                     42      Alternative minimum tax (see page 38). Attach Form 6251                                                            42
Single or                                                                                                                                       43
                     43      Add lines 41 and 42                                                                                         䊳
Married filing
separately,          44      Foreign tax credit. Attach Form 1116 if required                                 44
$4,750
                     45      Credit for child and dependent care expenses. Attach Form 2441                   45
Married filing
jointly or           46      Credit for the elderly or the disabled. Attach Schedule R                        46
Qualifying           47      Education credits. Attach Form 8863                                              47
widow(er),
$9,500               48      Retirement savings contributions credit. Attach Form 8880                        48
                     49      Child tax credit (see page 40)                                                   49
Head of
household,           50      Adoption credit. Attach Form 8839                                                50
$7,000                                                                                                        51
                     51      Credits from: a      Form 8396             b       Form 8859
                     52      Other credits. Check applicable box(es):      a     Form 3800
                             b      Form 8801     c      Specify                                  52
                     53      Add lines 44 through 52. These are your total credits                                                              53
                     54      Subtract line 53 from line 43. If line 53 is more than line 43, enter -0-                                   䊳      54
                     55      Self-employment tax. Attach Schedule SE                                                                            55
Other                                                                                                                                           56
                     56      Social security and Medicare tax on tip income not reported to employer. Attach Form 4137
Taxes                                                                                                                                           57
                     57      Tax on qualified plans, including IRAs, and other tax-favored accounts. Attach Form 5329 if required
                     58      Advance earned income credit payments from Form(s) W-2                                                             58
                     59      Household employment taxes. Attach Schedule H                                                                      59
                     60      Add lines 54 through 59. This is your total tax                                                             䊳      60
Payments             61      Federal income tax withheld from Forms W-2 and 1099                              61
                     62      2003 estimated tax payments and amount applied from 2002 return                  62
If you have a 63             Earned income credit (EIC)                                                       63
qualifying                                                                                                    64
child, attach
              64             Excess social security and tier 1 RRTA tax withheld (see page 56)
Schedule EIC. 65             Additional child tax credit. Attach Form 8812                                    65
                     66      Amount paid with request for extension to file (see page 56)                     66
                     67      Other payments from: a Form 2439 b  Form 4136 c    Form 8885                     67
                     68      Add lines 61 through 67. These are your total payments                                                      䊳      68
                     69      If line 68 is more than line 60, subtract line 60 from line 68. This is the amount you overpaid                    69
Refund
                     70a     Amount of line 69 you want refunded to you                                                   䊳                     70a
Direct deposit?
See page 56 䊳         b      Routing number                                                      䊳 c Type:         Checking        Savings
and fill in 70b, 䊳    d      Account number
70c, and 70d.
                   71        Amount of line 69 you want applied to your 2004 estimated tax 䊳 71
Amount             72        Amount you owe. Subtract line 68 from line 60. For details on how to pay, see page 57 䊳                            72
You Owe            73        Estimated tax penalty (see page 58)                             73
                      Do you want to allow another person to discuss this return with the IRS (see page 58)?                            Yes. Complete the following.            No
Third Party
                      Designee’s                                                Phone                                         Personal identification
Designee              name     䊳                                                no.   䊳      (        )                       number (PIN)            䊳
                      Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and
Sign                  belief, they are true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Here

                 䊳
                      Your signature                                               Date             Your occupation                              Daytime phone number
Joint return?
See page 20.                                                                                                                                     (        )
Keep a copy           Spouse’s signature. If a joint return, both must sign.       Date             Spouse’s occupation
for your
records.

Paid                  Preparer’s
                      signature    䊳                                                               Date
                                                                                                                         Check if
                                                                                                                         self-employed
                                                                                                                                                 Preparer’s SSN or PTIN

Preparer’s
Use Only
                      Firm’s name (or
                      yours if self-employed),
                      address, and ZIP code
                                                 䊳                                                                                EIN
                                                                                                                                  Phone no.      (        )
                                                                                                                                                              Form 1040 (2003)
